             Case 1:21-cr-00574-TSC Document 1 Filed 09/13/21 Page 1 of 6



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                                                Criminal No.
        v.
                                                                Filed:
 BART VERBEECK,
                                                                Violation: 15 U.S.C. § 1
                                                                Conspiracy in Restraint of Trade
                          Defendant.

                                         INFORMATION

                                          COUNT ONE
                                 Conspiracy in Restraint of Trade
                                         (15 U.S.C. § 1)

       The United States charges that at all times relevant to this Information:

                                         BACKGROUND

       1.       The Department of Defense maintains military bases in Belgium to protect the

national security interests of the United States. On behalf of the United States government, the

Department of Defense enters into and funds contracts for security services with companies to

protect the security of these physical locations and the safety of personnel stationed there.

       2.       Security services include individual guards protecting physical buildings, mobile

monitoring of certain locations, and electronic surveillance of defined areas. Individual

customers, including the United States Department of Defense (the “Department of Defense”),

seeking security services issued tenders and invited firms to bid on these contracts. These tenders

listed the location to be guarded, the duration of the services, and the overall scope of services

sought. When a company submitted a winning bid, it was selected to enter into a contract with

the customer for the provision of the services sought.




                                                  1
            Case 1:21-cr-00574-TSC Document 1 Filed 09/13/21 Page 2 of 6



                           DEFENDANT AND CO-CONSPIRATORS

       3.      During the period covered by this Information, BART VERBEECK (the

“Defendant”) resided in Belgium and was employed as the Director of Sales for G4S Secure

Solutions NV (“G4S”), a corporation charged elsewhere, and organized and existing under the

laws of Belgium with its principal place of business in Brussels, Belgium. During the period

covered by this Information, the Defendant, on behalf of G4S, was engaged in the business of

providing security services to a variety of customers in Belgium.

       4.      Various corporations and individuals, not made defendants in this Information,

participated as co-conspirators in the offense charged herein and performed acts and made

statements in furtherance thereof.

       5.      Whenever in this Information reference is made to any act, deed or transaction of

any corporation, the allegation means that the corporation engaged in the act, deed, or transaction

by or through its officers, directors, agents, employees, or other representatives while they were

actively engaged in the management, direction, control, or transaction of its business or affairs.

                               DESCRIPTION OF THE OFFENSE

       6.      Beginning at least as early as Spring 2019 and continuing until as late as Summer

2020, the exact dates being unknown to the United States, the Defendant entered into and

engaged in a combination and conspiracy with co-conspirators to suppress and eliminate

competition by allocating customers, rigging bids, and fixing prices for contracts for the

provision of security services in Belgium, including those with the United States, through the

Department of Defense, and those with the North Atlantic Treaty Organization (NATO)

Communications and Information Agency (the “NCI Agency”), which is funded in part by the

United States. The combination and conspiracy engaged in by the Defendant and co-conspirators



                                                 2
            Case 1:21-cr-00574-TSC Document 1 Filed 09/13/21 Page 3 of 6



was a per se unlawful, and thus unreasonable, restraint of interstate and foreign trade and

commerce in violation of Section 1 of the Sherman Act (15 U.S.C. § 1).

       7.      The charged combination and conspiracy consisted of a continuing agreement,

understanding, and concert of action among the Defendant and co-conspirators, the substantial

terms of which were that they would allocate customers, rig bids, and fix prices for contracts for

the provision of security services in Belgium, including certain contracts with the United States

and the NCI Agency by coordinating price increases; submitting artificially-determined, non-

competitive, inflated bids; and refraining from bidding for certain contracts. The objective of the

conspiracy was to be awarded certain security services contracts, including those with the United

States, through the Department of Defense, and those with the NCI Agency, which is funded in

part by the United States, and receive payments for those contracts, including from the

Department of Defense, at non-competitive, inflated prices for the duration of the contracts.

                      MEANS AND METHODS OF THE CONSPIRACY

       8.      For the purpose of forming and carrying out the charged combination and

conspiracy, the Defendant and co-conspirators did those things that they combined and conspired

to do, including, among other things:

               (a) attending meetings and engaging in discussions during which they agreed to

       allocate customers, rig bids, and fix prices;

               (b) participating in meetings to discuss which co-conspirator would submit the

       winning bid on particular tenders, including those issued by the Department of Defense

       for locations in Belgium;

               (c) communicating with each other via phone, text message, encrypted messaging

       applications, and email to discuss which co-conspirator would submit the winning bid on



                                                 3
             Case 1:21-cr-00574-TSC Document 1 Filed 09/13/21 Page 4 of 6



       particular tenders, including those issued by the Department of Defense for locations in

       Belgium;

                (d) agreeing, during those meetings and communications, not to compete against

       each other for particular tenders, including those issued by the Department of Defense for

       locations in Belgium;

                (e) submitting or withholding bids in accordance with the agreements reached,

       including to and from the Department of Defense for locations in Belgium;

                (f) providing security services at collusive and non-competitive prices, including

       to the Department of Defense at locations in Belgium; and

                (g) receiving payments for security services at collusive, non-competitive prices,

       including from the Department of Defense for locations in Belgium.

                                   TRADE AND COMMERCE

       9.       The United States solicited bids from and entered into contracts with the co-

conspirators for security services provided to United States military bases in Belgium. The

charged combination and conspiracy had a direct, substantial, and reasonably foreseeable effect

on U.S. interstate, import, and export trade and commerce, and that effect, in part, gives rise to

this charge. The charged combination and conspiracy also had a substantial and intended effect

in the United States.

       10.      For example: (a) the charged combination and conspiracy prevented the

Department of Defense from receiving true competition for bids on a contract for security

services in Belgium; (b) the charged combination and conspiracy also caused the Department of

Defense to pay non-competitive prices for security services provided at military bases and

installations in Belgium; and (c) proposals, contracts, invoices for payment, payments, and other

documents and items essential to the provision of security services were transmitted in foreign

                                                 4
             Case 1:21-cr-00574-TSC Document 1 Filed 09/13/21 Page 5 of 6



trade and commerce between the co-conspirators located in Belgium and their customers located

in the United States and elsewhere.

       11.      The business activities of the Defendant and co-conspirators in connection with

the security services contracts that are the subject of this Information were within the flow of,

and substantially affected, commerce among the states and with foreign nations.




       ALL IN VIOLATION OF TITLE 15, UNITED STATES CODE, SECTION 1.




                                                 5
         Case 1:21-cr-00574-TSC Document 1 Filed 09/13/21 Page 6 of 6




Dated: September 13, 2021



    
 
_________________________________
RICHARD A. POWERS
                                          _________________________________
                                          MARVIN N. PRICE, JR.
Acting Assistant Attorney General         Director of Criminal Enforcement




__________________________________
    ___________________                   __________________________________
                                                 _______________
JOSEPH
     PH MUOIO                             EYITAYO    ST. MATTHE
                                                 YO ST    MATTHEW-DANIEL
Chief, New York Office                    Assistant Chief, New York Office

U.S. Department of Justice
Antitrust Division


                                          __________________________________
                                          BRYAN SERINO
                                          DINA HOFFER
                                          KATHRYN KUSHNER
                                          Trial Attorneys, New York Office


                                          U.S. Department of Justice
                                          Antitrust Division
                                          26 Federal Plaza, Suite 3630
                                          New York, NY 10278
                                          Tel: 212-335-8000




                                      6
